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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                 Plaintiff,                            4:13CR3130
     vs.
                                                         ORDER
DANIEL ARIZA-GARCIA,
                 Defendant.


      IT IS ORDERED that:

      1.   The plaintiff's motion to continue sentencing date (filing 272) is
           granted.

      2.   Defendant Daniel Ariza-Garcia's sentencing is continued to
           Tuesday, June 10, 2014, at 10:00 a.m., before the undersigned
           United States District Judge, in Courtroom No. 4, Robert V.
           Denney United States Courthouse and Federal Building, 100
           Centennial Mall North, Lincoln, Nebraska. The defendant shall
           be present at the hearing.

      Dated this 22nd day of May, 2014.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge
